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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



In re Terrorist Attacks on September 11, 2001        03 MDL 1570 (GBD)(SN)
                                                     ECF Case


This document relates to:

Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)
Bauer et al. v. al Qaeda Islamic Army, et al., 02-cv-7236 (GBD)(SN)
Ashton et al. v. Kingdom of Saudi Arabia, 17-cv-2003 (GBD)(SN)

                                  CONSENT STIPULATION

       On November 26, 2019, a conference was held before the Honorable Magistrate Judge

Sarah Netburn to address issues related to the Motions to Substitute Counsel filed on September

20, 2019 by Patricia Ryan, Individually and as Personal Representative of the Estate of John J.

Ryan, Deceased, Kristen Ryan, Laura Ryan, and Colin Ryan (the “Ryan Plaintiffs”)(ECF No.

5164) and Katherine Maher, Individually and as Personal Representative of the Estate of Daniel

L. Maher, Deceased, Daniel R. Maher and Joseph F. Maher (the “Maher Plaintiffs”)(ECF No.

5165), parties in the Ashton action arising out of the September 11, 2001 terror attacks.

       Baumeister & Samuels, P.C. partially opposed the motions (ECF No. 5169, 5171) by

consenting to the substitution of counsel and requesting the removal of the Ryan and Maher

Plaintiffs claims from the Ashton action, and the issuance of a charging lien for the firm’s fees

and unreimbursed expenses against any future recovery. With the consent of Baumeister &

Samuels, P.C., the Court issued an Order on November 26, 2019 (ECF No. 5312) granting the

Ryan and Maher Plaintiffs’ motions to substitute counsel, without prejudice to Baumeister &

Samuels’ request that the Court issue a charging lien.


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THE PARTIES NOW CONSENT, STIPULATE AND AGREE as follows:

          1.   The Ryan and Maher Plaintiffs hereby withdraw their opposition to a charging

lien for professional services rendered by Baumeister & Samuels, P.C., and consent to the

issuance of such a charging lien in an amount and a method to be determined in the future for a

donation by Baumeister & Samuels, P.C. to the September 11 National Memorial Museum in the

names of John J. Ryan and Daniel L. Maher.

          2.   The Ryan and Maher Plaintiffs and Baumeister & Samuels, P.C. agree to

withdraw the statements and responses contained in their respective submissions dated October

10, 2019 (ECF No. 5202) and October 18, 2019 (ECF No. 5219), and all parties reserve their

rights.

          3.   The parties further agree that the charging lien dispute has been resolved.


______________________                               ______________________
Patricia Ryan, Individually and as                   Katherine Maher, Individually and as
Personal Representative of the Estate                Personal Representative of the Estate
of John J. Ryan, Deceased                            Daniel L. Maher, Deceased


______________________                               ______________________
Laura Ryan                                           Daniel R. Maher


______________________                               ______________________
Colin Ryan                                           Joseph F. Maher


______________________
Kristen Ryan


_______________________                              ______________________
Michel F. Baumeister                                 Dorothea M. Capone



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So Ordered:


______________________
Honorable Sarah Netburn




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